Case 1:23-mc-00070-LAK-GWG Document 66-8 Filed 08/23/23 Page 1 of 4




                   EXHIBIT 8
To:        Stephanie Ruhle (BLOOMBERG/ NEWSROOM:)[sruhle2@bloomberg.net]
From:      KP13 Case 1:23-mc-00070-LAK-GWG Document 66-8 Filed 08/23/23        Page 2 of 4
Sent:      Mon 1/11/2016 3:25:42 PM (UTC-05:00)
Subject:   Re: FINAL

I don 1 t know what that is but be we are powering their entire connected
fitness platform - am sure Robin or someone is scheduled to go.

On 1/11/16, 3:21 PM, "Stephanie Ruhle (BLOOMBERG/ NEWSROOM:)"
<sruhle2@bloomberg.net> wrote:

>R U DOING THE NBA TECH CONFERENCE
>
>
>
>----------------
>Stephanie Ruhle
>Anchor/Managing Editor, BloombergTV
>Editor-at-Large, Bloomberg News
>731 Lexington Ave
>New York, NY 10022
>office: 212.617.0784
>cell: 917.202.4342
>
>----- Original Message-----
>From: kp13@ua.com
>To: Stephanie Ruhle (BLOOMBERG/ NEWSROOM:)
>At: Jan 11201615:18:00
>
>
>Subject: Updated version ... we are working on TV now
>
>We are a growth company - UA has generated at least 20% net revenues
>growth for 22 straight quarters, including at least 20% growth in Apparel
>- our largest category - for 24 straight quarters.
>
>Congrats - Jordan Spieth won the Hyundai Tournament of Champions where he
>joined only one other player in PGA Tour history to finish a 72-hole
>event at 30-under or better; Lindsey Vonn won the Downhill race and super
>G race claiming her 73rd world Cup Victory in Austria; Stephen Curry is
>leading the Warriors to the best record in the NBA at 35-2.
>
>SportScan - their sell-through data captures actual data across only
>about one-third of what is the least premium part of our business. This
>excludes UA1s DTC and International business, as well as DKS, Foot
>Locker, and our department stores channel. Further, recent changes in
>methodology includes Kohl 1 s where our competition has aggressively sold
>in 2015 driving reported market share where we do not have a presence.
>
>Footwear Growth - net revenues increased 44% in 2014 and have accelerated
>to +48% year-to-date 2015
>
>Footwear ASPs - In 2016 Under Armour will double the amount of premium
>offerings in running footwear. In 2016, Under Armour will have 8 new
>models in running priced at $100 and above.
>
>Curry - The Curry 2 since launch has been the most productive signature
>basketball shoe in the market compared to sell-in volumes, outperforming
>the competition. This will enable the Million+ unit Curry platform to
>grow ASP, Margin and Volume in 2016 and beyond. This will also have a
>significant halo effect to grow Under Armour 1 s other footwear categories.
>
>Connected Fitness - we have invested in our mobile and digital strategy
>and will continue to do so going forward. Our Connected Fitness platform
>now has over 160 million unique active users, where we added 36 million
>active users in 2015 and have averaged 181,000 downloads per day so far
>in 2016. We are driving a $200 million business by 2018 with additional
>upside planned in our shirts and shoes business.
   HIGHLY CONFIDENTIAL                                                                       UA_01171477
>
                    Case 1:23-mc-00070-LAK-GWG
>Results - we look forward   to telling our full story with our 40 Document
                                                                   results  66-8 Filed 08/23/23   Page 3 of 4
>on January 28.
>
>
>
>Tom Shaw, CFA
>Director of Investor Relations
>[cid :62495C99-B4E9-4C05-916D-B387DBE7B5AO]<https://www.underarmour.com/>
>1020 Hull Street
>Baltimore, MD 21230
>Phone: +1 410-843-7676
>
>[cid :AEA42E08-9F0F-4A65-A4CF-99D74E5A292A]<https://record. underarmour. com/
» [cid:10901 0FC-A241-44E0-9640-47EA9651 FE74]
>><http://www.mapmyfitness.com/>
»[cid: B65A8348-54D7 -4DB0-BEDC-8933983E6B92] <https://www.endomondo.com/>
» [cid:9585B30C-2332-4 7CF-9B2C-9FF3F6195F76]
>><https://www.myfitnesspal.com/>
>THE WORLD 1 S LARGEST FITNESS COMMUNITY.
>AVAILABLE NOW ON iOS & ANDROID
>
>From: KP13
>Sent: Monday, January 11, 2016 3:00 PM
>To: Shaw, Tom
>Cc: Stafford, Henry; Pelkey, Diane; Dickerson, Brad; Anguilla, Rick;
>Bergman, David E.; Smith, Jen (Office of CEO); Stanton, John
>Subject: Re: bullets
>
>I would put the growth company paragraph first and then the Congrats but
>it looks good. Push print and get it out to everyone who is our friend
>and arm them with this information.
>ALL CNBC including Fast Money group & Cramer, Bloomberg, Fox, CNN,
>Darren, Camillo, Robby, OmarS.EVERYONE!
>
>From: Tom Shaw <tshaw@underarmour.com<mailto:tshaw@underarmour.com>>
>Date: Monday, January 11, 2016 at 2:43 PM
>To: Kevin Plank <kp13@ua.com<mailto:kp13@ua.com»
>Cc: Henry Stafford
><hstafford@underarmour.com<mailto:hstafford@underarmour.com>>, Diane
>Pelkey <dpelkey@underarmour.com<mailto:dpelkey@underarmour.com>>, Brad
>Dickerson
><bdickerson@underarmour.com<mailto:bdickerson@underarmour.com>>, Rick
>Anguilla <RAnguilla@underarmour.com<mailto:RAnguilla@underarmour.com>>,
>Dave Bergman <dbergman@underarmour.com<mailto:dbergman@underarmour.com>>,
>Jen Office of CEO
><jsmith@underarmour.com<mailto:jsmith@underarmour.com>>, John Stanton
><jstanton@underarmour.com<mailto:jstanton@underarmour.com>>
>Subject: bullets
>
>Congrats - Jordan Spieth won the Hyundai Tournament of Champions where he
>joined only one other player in PGA Tour history to finish a 72-hole
>event at 30-under or better; Lindsey Vonn won the Downhill race and super
>G race claiming her 73rd world Cup Victory in Austria; Stephen Curry is
>leading the Warriors to the best record in the NBA at 35-2.
>
>We are a growth company - UA has generated at least 20% net revenues
>growth for 22 straight quarters, including at least 20% growth in Apparel
>- our largest category - for 24 straight quarters.
>
>SportScan - their sell-through data captures actual data across only
>about one-third of what is the least premium part of our business. This
>excludes UA1s OTC and International business, as well as OKS, Foot
>Locker, and our department stores channel. Further, recent changes in
>methodology includes Kohl 1 s where our competition has aggressively sold
>in 2015 driving reported market share where we do not have a presence.
>
>Footwear Growth - net revenues increased 44% in 2014 and have accelerated
  HIGHLY CONFIDENTIAL                                                                                           UA_01171478
>to +48% year-to-date 2015
>                   Case 1:23-mc-00070-LAK-GWG Document 66-8 Filed 08/23/23      Page 4 of 4
>Footwear ASPs - In 2016 Under Armour will double the amount of premium
>offerings in running footwear. In 2016, Under Armour will have 8 new
>models in running priced at $100 and above.
>
>Curry - The Curry 2 since launch has been the best performing signature
>basketball shoe in the market, outperforming the competition. This will
>enable the Million+ unit Curry platform to grow ASP, Margin and Volume
>in 2016 and beyond. This will also have a significant halo effect to
>grow Under Armour 1 s other footwear categories.
>
>Connected Fitness - we have invested in our mobile and digital strategy
>and will continue to do so going forward. Our Connected Fitness platform
>now has over 160 million unique active users, where we added 36 million
>active users in 2015 and have averaged 181,000 downloads per day so far
>in 2016. We are driving a $200 million business by 2018 with additional
>upside planned in our shirts and shoes business.
>
>Results - we look forward to telling our full story with our 40 results
>on January 28.
>
>
>
>
>Tom Shaw, CFA
>Director of Investor Relations
>[cid :62495C99-B4E9-4C05-916D-B387DBE7B5AO]<https://www.underarmour.com/>
>1020 Hull Street
>Baltimore, MD 21230
>Phone: +1 410-843-7676
>
>[cid :AEA42E08-9F0F-4A65-A4CF-99D74E5A292A]<https://record. underarmour. com/
» [cid:10901 0FC-A241-44E0-9640-47EA9651 FE74]
»<http://www.mapmyfitness.com/>
»[cid: B65A8348-54D7 -4DB0-BEDC-8933983E6B92] <https://www.endomondo.com/>
» [cid:9585B30C-2332-4 7CF-9B2C-9FF3F6195F76]
>><https://www.myfitnesspal.com/>
>THE WORLD 1 S LARGEST FITNESS COMMUNITY.
>AVAILABLE NOW ON iOS & ANDROID
>
>




  HIGHLY CONFIDENTIAL                                                                          UA_01171479
